
PER CURIAM.
By petition for a writ of certiorari we-have for review an order of the Florida. Industrial Commission’ bearing date December 21, 1965.
*503We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
Both petitions, for writ of certiorari and for attorney’s fees, are denied.
It is so ordered.
ROBERTS, Acting C. J., and DREW, ■O’CONNELL, CALDWELL and ERVIN, JJ., concur.
